     Case 1:12-cr-00323-WSD-CMS Document 9-1 Filed 10/15/12 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA              :
                                      :      CRIMINAL ACTION NO.
            v.                        :
                                      :      1:12-CR-323-WSD-ECS
EDWARD K. KIM                         :

                                     ORDER

      Upon motion by the Defendant, EDWARD K. KIM, and for good cause
shown, the Defendant’s motion for continuance of the motions deadline is hereby
GRANTED. The Defendant’s motions shall now be due on
_____________________________, 2012. The pretrial conference shall be held on
_____________________________, 2012.

       IT IS ORDERED THAT the Clerk’s office shall exclude the time until the
pretrial conference from Speedy Trial calculations. The delay between now and the
rescheduled pretrial conference must be excluded from Speedy Trial Act
calculations because the Court finds the reason for the delay was for good cause and
the interests of justice in granting the continuance outweigh the public’s and the
defendants’ rights to a speedy trial. 18 U.S.C. § 3161, et seq.

      SO ORDERED this _______ day of ________________, 2012.


                                      ______________________________
                                      HON. E. CLAYTON SCOFIELD III
                                      UNITED STATES MAGISTRATE JUDGE

Presented By:

W. Matthew Dodge
Attorney for Edward Kim
